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 1   ANNETTE L. HURST (SBN 148738)
     ahurst@orrick.com
 2   RUSSELL P. COHEN (SBN 213105)
     rcohen@orrick.com
 3   PAUL F. RUGANI (SBN 342647)
     prugani@orrick.com
 4   CATHERINE Y. LUI (SBN 239648)
     clui@orrick.com
 5   NATHAN SHAFFER (SBN 282015)
     nshaffer@orrick.com
 6   DANIEL JUSTICE (SBN 291907)
     djustice@orrick.com
 7   EMILY RENZELLI (pro hac vice)
     erenzelli@orrick.com
 8   ORRICK, HERRINGTON & SUTCLIFFE LLP
     405 Howard Street
 9   San Francisco, CA 94105-2669
     Telephone: +1 415 773 5700
10   Facsimile: +1 415 773 5759
11   Attorneys for LinkedIn Corporation
12                               UNITED STATES DISTRICT COURT
13                              NORTHERN DISTRICT OF CALIFORNIA
14                                     SAN FRANCISCO DIVISION
15
     hiQ Labs, Inc.,                               Case No. 17-cv-03301-EMC
16
                   Plaintiff,                      LINKEDIN’S MOTION FOR
17                                                 SUMMARY JUDGMENT
           vs.
18                                                 Date:              September 29, 2022
     LinkedIn Corporation,                         Time:              1:30 p.m.
19                                                 Courtroom:         5 – 17th Floor (Zoom)
                   Defendant.                      Judge:             Hon. Edward M. Chen
20
                                                   Complaint Filed:   June 7, 2017
21                                                 Trial Date:        February 27, 2023

22
     LinkedIn Corporation
23
                   Counterclaimant,
24         vs.

25   hiQ Labs, Inc.

26                 Counterdefendant.

27

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 1                               NOTICE OF MOTION AND MOTION
 2          TO PLAINTIFF/COUNTER-DEFENDANT AND ITS ATTORNEYS OF RECORD:
 3   PLEASE TAKE NOTICE THAT pursuant to Rule 56 of the Federal Rules of Civil Procedure, on
 4   September 29, 2022 at 1:30 p.m. by remote Zoom teleconference at the address published by the
 5   Court, or as soon thereafter as the matter may be heard, Defendant/Counterclaimant LinkedIn
 6   Corporation will, and hereby does, move for summary judgment.
 7          LinkedIn seeks partial summary judgment finding hiQ Labs, Inc. liable for breach of
 8   contract on the Third Claim for Relief of the Amended Counterclaim, because the undisputed
 9   facts establish as a matter of law that hiQ assented to and breached multiple provisions of the
10   LinkedIn User Agreement thereby harming LinkedIn, and none of hiQ’s excuses can be credited.
11          LinkedIn also seeks summary judgment dismissing with prejudice the Fifth through Ninth
12   Claims for Relief of the Amended Complaint filed by hiQ. All of hiQ’s affirmative claims are
13   barred by California’s absolute privilege for litigation communications, Civil Code § 47.
14   Moreover, hiQ cannot establish (or LinkedIn has disproven) required elements of its Fifth and
15   Sixth Claims for tortious interference with economic relations, and the undisputed material facts
16   show that LinkedIn was justified in asserting its legal rights. Finally, hiQ’s Seventh through
17   Ninth Claims for Relief for violation of Business and Professions Code § 17200 must also be
18   dismissed, because hiQ is not entitled to the limited remedies available under that statute.
19   Additionally, each of its “unfair,” “fraudulent,” and “unlawful” claims are legally defective
20   and/or lack required evidence.
21          Accordingly, LinkedIn seeks an order finding that hiQ is liable to LinkedIn on the Third
22   Claim for Relief of the Amended Counterclaim in an amount of damages to be proven at trial, and
23   dismissing fully and finally each of the Fifth through Ninth Claims for Relief of the Amended
24   Complaint.
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2                         INTRODUCTION AND STATEMENT OF ISSUES
 3          For all its seeming complexity, this case ultimately turns on the straightforward question
 4   of whether the law gives LinkedIn the right to set for itself, and enforce, the conditions under
 5   which it offers services. Virtually every business imposes such conditions, from “no shirt, no
 6   shoes, no service” to “turn off your cell phones during the performance.” For its part, LinkedIn
 7   has chosen to bar scrapers from use of its services in order to honor its members’ expectations
 8   concerning use of their data, safeguard its servers from disruption, and protect its ability to
 9   monetize its own platform. No law bars LinkedIn from making that choice in the first place,
10   implementing it through general technical defenses against scraping, or—most relevant here—
11   asserting its rights against violators. Just the opposite, the law affirmatively protects LinkedIn’s
12   freedom to do those very things.
13          As discovery has unfolded in this case, hiQ’s attempt to turn LinkedIn into a public utility
14   has utterly collapsed. When it first sought preliminary relief, hiQ pledged to prove that all it ever
15   did was seek access to so-called “public data” on equal footing with any member of the public.
16   But discovery revealed that hiQ’s product was not commercially viable without use of an
17   elaborate scheme of fake member accounts designed to circumvent LinkedIn’s password barriers.
18   After obtaining a preliminary injunction on less than a likely merits showing, hiQ could not even
19   plead, let alone prove, the existence of a product market or any anticompetitive behavior by
20   LinkedIn in that market. And the assertion that LinkedIn’s cease-and-desist letter (C&D letter)
21   interfered with its contracts proved empty, too—it turns out hiQ was already a failed business on
22   borrowed time when LinkedIn sent its letter.
23          Summary judgment is appropriate for the following reasons.
24          First, partial summary judgment establishing liability is appropriate on LinkedIn’s Third
25   Claim for Relief for breach of contract because undisputed facts show that hiQ assented to and
26   repeatedly violated unambiguously applicable provisions of LinkedIn’s User Agreement
27   prohibiting scraping and unauthorized commercial activity. None of hiQ’s affirmative defenses

28   excuse its breaches. The Court should grant summary judgment of liability on that claim,

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 1   confirming LinkedIn’s legal interest in setting the terms of use on its own platform. Part I, infra.
 2           Second, summary judgment dismissing with prejudice each of hiQ’s remaining affirmative
 3   claims (its Fifth through Ninth Claims for relief) should be granted under California’s absolute
 4   privilege protecting litigation communications, Cal. Civ. Code § 47. hiQ has now conceded that
 5   all of its alleged harm flows from LinkedIn sending a C&D letter, which hiQ further confirmed
 6   was not published by LinkedIn to anyone other than hiQ. That prelitigation communication is
 7   quintessentially privileged. Just as it had with many scrapers before, LinkedIn correctly believed
 8   hiQ was engaging in conduct that violated its User Agreement and the law, and LinkedIn
 9   demanded that hiQ stop doing so as a precursor to potential litigation. hiQ has every ability to
10   challenge the rights LinkedIn asserted by defending against them, and even, as here, seeking
11   preemptive declaratory relief; but § 47 protects absolutely LinkedIn’s right to communicate to
12   hiQ its potential claims in advance of filing suit. Part II, infra.
13           Third, hiQ’s claims for tortious interference with economic relations (Claims Five and
14   Six) fail for multiple additional and independent reasons. hiQ has no intentional interference with
15   contract claim because it concedes it performed under all contracts existing at the time it received
16   the C&D letter. hiQ also cannot establish a claim for interference with prospective economic
17   advantage, both because it cannot show an independent wrongful act under its UCL claims and
18   because it cannot establish that LinkedIn sent its C&D letter with any knowledge of a specific
19   economic relationship likely to result in benefit to hiQ. Beyond that, hiQ has no evidence that
20   LinkedIn’s letter caused a single lost business opportunity—unsurprising since even the
21   privileged access to LinkedIn data mandated by the Court’s preliminary injunction could not
22   resuscitate hiQ’s business. And hiQ’s economic tort claims also fail for the independent reasons
23   that LinkedIn’s C&D letter is a privileged assertion of its legal rights and members’ interests.
24   Finally, hiQ’s “lost business valuation” and punitive damages requests fail for independent
25   reasons as well, the former because it is not a valid damages theory under California law as
26   explained in LinkedIn’s accompanying Daubert Motion to Exclude Opinions of Benjamin Sacks,
27   the latter because hiQ could never show by clear and convincing evidence the requisite malice,

28   oppression, or fraud where LinkedIn acted to protect established rights. Part III, infra.

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 1            Fourth, summary judgment is appropriate against hiQ’s three UCL claims (Claims Seven
 2   through Nine). All fail because hiQ cannot establish entitlement to restitution or an injunction,
 3   the sole remedies available under that statute. Each fails for other, independent reasons as well.
 4   As for “unfair” competition, all of hiQ’s theories of anticompetitive conduct were previously
 5   dismissed. In any event, as a matter of law, LinkedIn has no duty to deal with hiQ and is not an
 6   essential facility, even assuming California law recognized such theories under the UCL. As this
 7   Court previously held in dismissing hiQ’s promissory estoppel claim, hiQ’s notion of
 8   “fraudulent” competition makes no sense—hiQ identifies no misleading statement about scraping,
 9   and certainly none it relied upon. And hiQ has no claim for “unlawful” competition because that
10   claim is entirely derivative of its tort claims, which also fail. Part IV, infra.
11            From start to finish, hiQ has failed to find a viable legal theory supported by evidence.
12   Along the way, it misled LinkedIn and the Court with its false narrative that it accessed only
13   “public” member profile data. Indeed, as explained in LinkedIn’s contemporaneously filed
14   motion for spoliation sanctions, hiQ has compromised the very integrity of this proceeding by
15   spoliating highly salient evidence that would prove the depth of its prohibited conduct. In short,
16   this case is not what hiQ said it was. It is about LinkedIn’s basic and fundamental right to
17   enforce the promises undertaken by users of its platform, which foreclose hiQ’s baseless claims
18   of improper conduct. This Court should grant LinkedIn’s motion.
19                                        STATEMENT OF FACTS
20            A.     LinkedIn Bars Scrapers To Protect Its Platform And Honor Member
                     Expectations And Interests.
21

22            LinkedIn is a social network whose “vision is to create economic opportunity for every
23   member of the global workforce.”1 Rockwell Decl. ¶ 1. That opportunity comes from
24   connections among LinkedIn’s 850 million (and counting) members. Id. LinkedIn’s highest
25   priority is and always has been those members. In short, “Members First.” CE 939 (Reid Dep.).
26            Like most platforms, LinkedIn imposes restrictions on who uses its services and how they
27   do so. Among these conditions is that LinkedIn restricts unauthorized bots from making high-

28   1
         LinkedIn cites the Compendium of Evidence in Support of LinkedIn’s August 5 Motions “CE.”
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 1   volume requests to LinkedIn’s servers, i.e., scraping. Scraping is bad for members and LinkedIn.
 2   It burdens LinkedIn’s servers, inhibiting the site’s performance. CE 8-9 (Bray Dep.); CE 461-65
 3   (Malackowski Rpt.). Mass collection and use of member information also interferes with
 4   fundamental member interests in control over their information. CE 6-7 (Bray Dep.); CE 1381-
 5   82 (Rockwell Decl.); CE 828-29 (Murphy Rpt.). For example, when members delete information
 6   from their profiles, they justifiably expect that LinkedIn will delete it, too. Lawit Decl. Ex. C
 7   (User Agreement ¶ 3.1(a)). But scrapers may retain and sell that information, interfering with
 8   members’ control over or expectations with respect to their information. CE 947-50 (Rockwell
 9   Dep.). Barring scraping thus serves important business interests for LinkedIn. As economics
10   expert, Kevin Murphy, explained, anti-scraping policies “increase members’ trust” and “enhance
11   the performance of the platform,” making it more valuable. CE 805-06, 825 (Murphy Rpt.).
12          LinkedIn prohibits unauthorized scraping through its User Agreement and enforces that
13   prohibition with general technical defenses that operate to bar access requests by scrapers.
14   LinkedIn’s terms provide that “by … accessing or using our services … you are entering into a
15   legally binding agreement.” E.g., Lawit Decl. Ex. C § 1.2. The User Agreement thus governs not
16   only members who register for an account, but also expressly applies to “Visitors” who access the
17   site’s services without having done so. Id. When a user assents to the Agreement, it “agree[s]
18   that [it] will not” do various things, including: “Scrape or copy profiles and information of others
19   through any means”; “Use manual or automated software, devices, scripts robots, other means or
20   processes to access, ‘scrape,’ ‘crawl,’ or ‘spider’ the Services or any related data or information”;
21   or “Use bots or other automated methods to access the services.” Id. § 8.2
22          LinkedIn maintains robust technical defenses as one means of self-help to broadly enforce
23   its terms of use. CE10-12 (Bray Dep.). Like stadium security, LinkedIn’s defenses are general
24   and anonymous in the sense that they screen all requests to access LinkedIn’s servers without
25   regard to or knowledge of the identity of the requester. Id.; CE 1298-1302 (Wu Dep.). When a
26   request comes in for access to profile data stored on one of LinkedIn’s servers, that request must
27   run a gauntlet designed to detect whether or not that request is consistent with LinkedIn’s terms.

28   That gauntlet, LinkedIn’s “Anti-Abuse Infrastructure” and its “Anti-Scraping Technical

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 1   Strategy,” is highly effective at blocking scrapers. CE 1313-15 (Rockwell Decl.); CE 10-12
 2   (Bray Dep.); CE 810-11 (Murphy Rpt.). All told, LinkedIn’s defenses block hundreds of millions
 3   of scraping requests every day. CE 13-14 (Bray Dep.); CE 810-11 (Murphy Rpt.).
 4          B.      hiQ Builds A Business On Prohibited Scraping.
 5          Before hiQ failed, its business was built on scraping LinkedIn member profile data. Its
 6   first product was “Keeper” (originally named “Control Center”), which it completed in the first
 7   half of 2014. CE 1477. Keeper scraped LinkedIn member profiles for a company’s employees in
 8   order to look for changes that would suggest which employees were “flight risks.” CE 626-27
 9   (Medeiros Dep.); CE 397-424 (hiQ product overview); see CE 392-95 (Kim Dep.) (hiQ knew
10   LinkedIn members could choose not to share changes to their profiles but collected and sold that
11   information anyway). Skill Mapper, which hiQ sought to launch in the Spring of 2017, was
12   designed to scrape profiles to identify the skills possessed by a company’s current employees.
13   CE 130-39 (hiQ product overview); CE 101-02 (Graves Dep.). To be cost-effective and accurate,
14   both products depended on bots that extracted information from LinkedIn’s profile data servers at
15   a rate far beyond human capability. Schmidt Decl. Ex. A at 107-10, Table 3.
16          hiQ has long known that LinkedIn prohibits scraping. CE 927 (March 9, 2015 email
17   showing CEO Kaplan excerpt from User Agreement that prohibits scraping, stating “don’t want
18   to freak anyone out”); CE 106-08 (Graves Dep.). Its personnel knew about, reviewed, and
19   repeatedly accepted the User Agreement by accessing and using LinkedIn’s services.2 It accepted
20   the agreement in running advertising and signing up for LinkedIn subscriptions also subject to the
21   User Agreement.3 And hiQ admits that it was a LinkedIn Member with a Company Page. ECF
22   No. 24 at 12; ECF No. 327 at 14; Lawit Decl. ¶ 5, Ex. I (record of hiQ company page).
23          hiQ also knew that to effectively perform the scraping on which its business depended, it
24   would need to illicitly circumvent LinkedIn’s general technical defenses. The source code of
25
     2
       CE 370-71 (Kaplan Dep.); CE 87 (Graves Dep.); CE 1148-49 (Weidick Dep.); CE 919
26   (Oltmann Dep.); CE 705, 707 (Miller Dep.); CE 30-31 (Dev Dep.); CE 393 (Kim Dep.).
     3
       Lawit Decl. ¶¶ 7-8, Exh. J-M; CE 118-19 (Graves Dep.); CE 615 (Medeiros Dep.); ECF No.
27   327 at 15 (hiQ purchased advertising on LinkedIn); ECF No. 327 at 39 (hiQ agreed to the LSA);
     CE 637-39 (hiQ Sales Navigator order form incorporating LSA); CE 64-61 (hiQ Sales Navigator
28   invoices).
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 1   hiQ’s first scraper from May 2014 reveals “several intentional techniques to evade
 2   detection … by LinkedIn,
 3

 4                                       .” Schmidt Decl. Ex. A at 42. As hiQ continually ran into
 5   more and more sophisticated iterations of LinkedIn’s defenses, hiQ worked to develop more
 6   advanced circumvention methods. Id. at 42-46; see CE 729 (                                 ); CE
 7   703-04 (hiQ CTO Miller:
 8                                                     ). hiQ ran numerous experiments and
 9   implemented its findings in an admitted effort to reverse engineer LinkedIn’s systems and avoid
10   detection by simulating human site-access behaviors. CE 706, 714-16 (Miller Dep.); CE 1601-03
11   (notes on reverse engineering LinkedIn’s systems); CE 731-33 (same); CE 730
12                                             ); CE 737-48 (Scraper Wars Presentation).
13          In fact, contrary to repeated representations hiQ made at the outset of this case, hiQ even
14   circumvented LinkedIn’s password barriers. For its Keeper product, it was critical that hiQ
15   obtain information about as many of a customer’s employees as possible. CE 104-05 (Graves
16   Dep.). When this “coverage” was lacking, customers stopped buying Keeper. CE 682 (eBay
17   non-renewal); CE 673-76 (Apax coverage issue). So, to get enough “coverage” of a customer
18   company’s employees, hiQ had to log into a LinkedIn member account to collect profile URLs.4
19   The process was essential. CE 1514-17 (report of hiQ data coverage with and without turking);
20   CE 144-46 (
21                                                                           ); CE 97-98 (Graves Dep.).
22   hiQ thus hired a phalanx of third-party “turkers” to perform the process. CE 1573-85 (record of
23   payments to all turkers from Sep. 2015 to Sep. 2016); CE 1538-49 (turking instructions).
24          Because LinkedIn’s general technical defenses would pick up on the unusual high-volume
25   patterns of turking and restrict the turkers’ real accounts, CE 148-49 (internal email), hiQ
26   4
        CE 104-05 (Graves noting the importance of data coverage); CE 151-54 (describing the
     turking process); CE 148-49 (Graves discussing circumvention of LinkedIn “usage” restrictions);
27   CE 773 (turking “logged out” is not “going to work at all”); CE 2067 (same); CE 1462 (logged
     out turking is an “exercise in frustration”); CE 1460 (“There are two new search links that will
28   perform a search within linkedin, which will only work if you are logged into linkedin.”).
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 1   instructed that it was a “good idea to make a fake account.” CE 151 (turking instructions); see
 2   CE 118-19, 123-25 (Graves Dep.). This ran afoul of the User Agreement’s prohibition on
 3   “[c]reat[ing] a false identity on LinkedIn,” Lawit Decl. Ex. C ¶ 8.2; CE 927 (March 9, 2015
 4   email). hiQ, including its head of data science, Genevieve Graves, knew that both turking itself
 5   and the fake accounts violated the User Agreement. CE 106-08, 112-14 (Graves Dep.); see CE
 6   328 (hiQ violated “the requirement that users of LinkedIn don’t create false identities”); CE 167
 7   (“I feel as though creating a training set of fake profiles to standardize turking will be an arduous
 8   process, one that requires more cunning and deceptive tactics to perform, and will end up
 9   breaking more terms of use than turking.”)
10          But hiQ was never deterred. Although hiQ spoliated the data that would confirm the
11   precise scope of its activities, LinkedIn estimates hiQ sent approximately 50 billion scraping
12   requests from Fall 2016 through the Spring of 2018. CE 1303-05 (Wu Dep.).
13          C.      hiQ’s Business Fails Before May 23, 2017.

14          Although hiQ had no compunctions about violating LinkedIn’s User Agreement or

15   circumventing LinkedIn’s general technical defenses, the latter was easier said than done. By the

16   end of March 2017, hiQ CEO Mark Weidick “shut[] down scraping” because hiQ was “only

17   getting a trickle of data” from LinkedIn. CE 1173; see CE 1174 (Weidick reporting technical and

18   legal issues with scraping). Two weeks later, things had not improved, and Weidick noted that

19   the “first order of business is to get scraping up and running to some viable place.” CE 1258

20   (Weidick email). But two weeks after that, a hiQ data scientist described hiQ’s scraping

21   operation as “back to square one,” CE 1259 (LeBailly email), and its CTO acknowledged the

22   scraping situation had “come to a head.” Id. (Miller email). hiQ tried still more tricks with

23                       , but those did not work either, and hiQ was seeing ban rates of     % or more.5

24          During this time, the state of hiQ’s scraping operation was so dire that, apparently on

25   Weidick’s instruction, a hiQ data scientist, Boris Dev, anonymously requested access to

26
     5
       CE 51 (ban rates between            ); CE 1626-27 (hiQ dependent on                        );
27   CE 1616 (                        unavailable for two weeks on May 3, 2017; CE 1624 (
     still down as of May 26, 2017); CE 1622 (testing alternative     service); CE 770 (reporting
28   ban rate greater than %).
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 1   LinkedIn’s APIs. CE 1608 (Weidick email). Weidick worried that the request had “go[ne] in as
 2   hiQ,” and that he “probably encouraged [Dev] to go a few steps to[o] far on this given our
 3   dependency on LinkedIn.” Id. Dev assured Weidick that he “did not mention our company
 4   name” or “use my real LinkedIn profile,” instead “anonymously testing the water,” CE 49-50.
 5   See CE 39-44 (Dev Dep.); CE 1165-66 (Weidick Dep.) LinkedIn rejected the request. CE 49-50.
 6          Meanwhile, hiQ’s business was collapsing. It had only                of cash remaining and
 7   no ability to seek more outside investment. CE 1150-51, 1161 (Weidick Dep.); CE 1220-53
 8   (May 15, 2017 presentation to hiQ Board). Its “exceptionally poor renewal rate,” CE 1228 (May
 9   15, 2017 presentation to hiQ Board), and customer “churn” meant it was “not a sustainable
10   business.” CE 170 (internal email). By mid-May 2017, hiQ’s business had failed and its Board
11   was conducting a complete reexamination of the company’s business model. CE 1220-53 (May
12   15, 2017 presentation to hiQ Board). As LinkedIn’s business strategy expert, Yael Hochberg,
13   opined, hiQ was headed out of business because of its “poor financing position, risky business
14   model, lack of sustainable competitive advantage, as well as hiQ’s apparent struggles with
15   product-market fit, execution, and customer acquisition and retention.” CE 212 (Hochberg Rpt.)
16          D.      LinkedIn Asserts Its Rights In A Cease-And-Desist Letter.

17          As Spring 2017 approached, LinkedIn did not know that hiQ’s business was failing. Nor

18   did it know that its general technical defenses had effectively blocked hiQ’s scraping operation.

19          Scraping had been an issue for LinkedIn for a long time. Since 2010, LinkedIn had sent

20   scores of notices to scrapers, most of which were resolved by agreement, but some of which

21   resulted in litigation. Lawit Decl. ¶¶ 12, 17. Its general technical defenses had been in place

22   since at least 2012 and were continually evolving to thwart ever-more creative attempts to

23   circumvent them. CE 11-12 (Bray Dep.); CE 1298-1302 (Wu Dep.); CE 955 (Rockwell Dep.);

24   CE 810-11 (Murphy Rpt.); CE 1274-75 (Womer Dep.). LinkedIn also, in Fall 2013, had created a

25   group called “Scraper Council,” made up of LinkedIn employees from its Legal, Product Trust,

26   Trust Engineering, Trust and Safety, Data Science, and Business Development Groups, and

27   tasked with collaborating to prevent scraping abuse. Lawit Decl. ¶ 13. In April 2015 there was

28   an executive meeting bringing renewed emphasis to the issue of scraping abuse on the platform.

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 1   The presentation noted “that scraping is on the rise,” identified it as a “a Members First issue,”
 2   and listed several prominent scrapers (hiQ not among them). CE 960, 966.
 3          In October of 2015, Lorenzo Canlas, an employee who worked on LinkedIn’s internal
 4   analytics as part of its human resources function, noted hiQ to some colleagues, one of whom
 5   brought hiQ to the attention of Scraper Council. CE 1279 (Canlas email). But Scraper Council
 6   lacked the resources to respond to every report of possible scraping it received, and did not
 7   investigate hiQ at that time. Lawit Decl. ¶ 15.
 8          In April of 2017, a few LinkedIn employees were invited by hiQ to attend its “Elevate”
 9   conference where it announced the launch of its Skill Mapper product. CE 62-63 (employee
10   notes from conference). hiQ’s description of Skill Mapper suggested to the attendees that hiQ
11   was obtaining LinkedIn data by scraping. CE 63 (notes indicating hiQ “[r]efresh (scrape) profile
12   data every few weeks”). So they reported this to a department called Trust Engineering, id.,
13   which in turn referred the matter to LinkedIn’s Legal team, the department ultimately responsible
14   for determining whether a user has violated LinkedIn’s rights, and for deciding whether to initiate
15   some form of legal enforcement against it. Bajoria Decl. ¶¶ 3-5; Lawit Decl. ¶ 10.
16          By then, LinkedIn’s Scraper Council was receiving over 100 reports of scraping per year.
17   Lawit Decl. ¶ 14. When the report came in on hiQ, the Legal department did what it typically
18   does: investigate, evaluate whether the scraper’s conduct is unlawful, then exercise legal
19   judgment in deciding whether to send a C&D letter. Bajoria Decl. ¶¶ 3-4. Ultimately, LinkedIn’s
20   Legal department decided, just as it had dozens of times before, to send a C&D letter. Bajoria
21   Decl. ¶ 5; Lawit Decl. ¶ 12. Its May 23, 2017 letter explained that hiQ’s scraping “violates
22   LinkedIn’s User Agreement and the law.” Bajoria Decl. Ex. A at 2. It invoked the User
23   Agreement’s prohibitions on scraping, as well as hiQ’s promises not to “[c]opy or use the
24   information, content or data of others … (except as expressly authorized); “[r]ent, lease, loan,
25   trade, sell/resell access to the Services or any related information or data; or “[s]hare or disclose
26   information of others without their express consent.” Id. The letter further asserted that
27   “[c]ircumventing these technical measures … without authorization” would violate California

28   Penal Code § 502, the CFAA, the state common law of trespass, and the anti-circumvention

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 1   provisions of the Digital Millennium Copyright Act. Id. And it reserved “all … rights and
 2   remedies, including legal action.” Id.
 3          E.      hiQ Obtains Preliminary Relief On A Lowered Merits Standard, Then
                    Cannot Plead Any Theory Of Anticompetitive Conduct Or Maintain Its
 4                  Business Despite Unfettered Access to LinkedIn Data.
 5          In response, hiQ sued, claiming that LinkedIn’s C&D letter constituted tortious
 6   interference with contract and violated California’s Unfair Competition Law, Cal. Bus. & Prof.
 7   Code § 17200 (UCL). It also sought a preliminary injunction. Its showing was based on two key
 8   premises. First, hiQ claimed repeatedly that its conduct involved only areas of LinkedIn’s
 9   website that did not require “logging in.” E.g., ECF No. 24 at 4. And second, hiQ claimed that
10   LinkedIn’s letter would drive it out of business. ECF No. 4 at 6-7, 9; ECF No. 5 at 2; ECF No.
11   51 at 1. On the basis of these representations, this Court granted a preliminary injunction, finding
12   a likelihood of irreparable harm and “serious questions going to the merits” of hiQ’s claims. ECF
13   No. 63 at 16. The Ninth Circuit affirmed. hiQ Labs, Inc. v. LinkedIn Corp., 31 F.4th 1180, 1197
14   (9th Cir. 2022).
15          Meanwhile, hiQ failed to plead actionable anticompetitive conduct. It attempted to allege
16   three separate claims under the Sherman Act, with seven different theories. ECF No. 131 at 30-
17   34. But this Court found “each theory … implausible.” ECF No. 158. hiQ did not try to
18   resuscitate those claims. Then, discovery revealed that hiQ’s Keeper product in fact depended on
19   access to password-protected areas of LinkedIn’s website, belying hiQ’s claims of purely
20   “public” access. Discovery also revealed hiQ’s inability to scrape and business troubles before
21   LinkedIn sent its C&D letter. Supra 7-8.
22          In addition, it became apparent during discovery that hiQ had gone out of business,
23   necessitating dissolution of the preliminary injunction because there was no longer any threat of
24   irreparable harm. ECF No. 329. Discovery also revealed that hiQ spoliated evidence of both its
25   scraping activity and its customer relationship management databases. See LinkedIn’s Motion for
26   Spoliation Sanctions, filed herewith. LinkedIn now moves for summary judgment to enforce its
27   contract, and to dismiss hiQ’s remaining affirmative claims in its Amended Complaint.

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 1                                              ARGUMENT
 2          Summary judgment is appropriate if “the movant shows that there is no genuine dispute as
 3   to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
 4   56(a). “A genuine issue of material fact will be absent if, upon viewing the evidence and
 5   inferences which may be drawn therefrom in the light most favorable to the adverse party, the
 6   movant is clearly entitled to prevail as a matter of law.” Hill v. Walmart Inc., 32 F.4th 811, 815-
 7   16 (9th Cir. 2022) (quotation marks omitted). Alternatively, “[w]here plaintiff has the burden of
 8   proof, defendant need only point out the relevant issue for which plaintiff has no substantive
 9   evidence and the burden shifts to the plaintiff to furnish substantive evidence sufficient to raise a
10   triable issue of fact.” Clements v. Screen Gems, Inc., No. CV10-220-R, 2010 WL 5174376, at *2
11   (C.D. Cal. Dec. 13, 2010) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)).
12   I.     HIQ BREACHED LINKEDIN’S USER AGREEMENT AS A MATTER OF LAW.

13          A.      Undisputed Facts Establish That hiQ Breached The User Agreement.

14          The elements of a breach of contract claim are “(1) the existence of the contract, (2)
15   plaintiff’s performance or excuse for nonperformance, (3) defendant’s breach, and (4) the
16   resulting damages to the plaintiff.” Oasis W. Realty, LLC v. Goldman, 51 Cal. 4th 811, 821
17   (2011). Those elements are met here as to hiQ’s breach of the User Agreement’s scraping, fake
18   account, and commercial use prohibitions. Courts have enforced such provisions in
19   indistinguishable circumstances, and the result should be the same here. See Meta Platforms, Inc.
20   v. BrandTotal Ltd., No. 20-CV-07182-JCS, 2022 WL 1990225, at *23 (N.D. Cal. June 6, 2022);
21   Niantic, Inc. v. Global++, No. 19-cv-03425-JST, 2019 WL 8333451, at *7 (N.D. Cal. Sept. 26,
22   2019); Craigslist, Inc. v. Naturemarket, Inc., 694 F. Supp. 2d 1039, 1059 (N.D. Cal. 2010).
23          hiQ assented to the User Agreement. “Courts have consistently enforced terms of use
24   agreements where the user had actual notice of the agreement,” “or where the user is required to
25   affirmatively acknowledge the agreement before proceeding with use of the service.” In re Holl,
26   925 F.3d 1076, 1084-85 (9th Cir. 2019) (brackets and quotation marks omitted) (quoting Nguyen
27   v. Barnes & Noble Inc., 763 F.3d 1171, 1176 (9th Cir. 2014)). Assent is established here many

28   times over, both by express agreement and by constructive acceptance of the terms with

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 1   knowledge. Supra 5-6. hiQ’s witnesses have confirmed repeatedly that hiQ reviewed the terms
 2   of LinkedIn’s User Agreement. CE 370-71 (Kaplan Dep.); CE 707 (Miller Dep.); CE 106-08
 3   (Graves Dep.). LinkedIn undisputedly put hiQ on further notice of the terms with its C&D letters.
 4   Bajoria Decl. Ex. A; Lawit Decl. Ex. O (June 24, 2017 C&D letter). hiQ continued to seek access
 5   to the site throughout the entire period with knowledge of the terms.
 6          LinkedIn Performed. hiQ has not identified any basis to dispute that LinkedIn performed
 7   its material obligations under the User Agreement.
 8          hiQ undisputedly breached the unambiguous terms. hiQ breached the provisions of the
 9   User Agreement identified in the C&D letter. Lawit Decl. Ex. C (User Agreement § 8.2). The
10   User Agreement is unambiguous in barring “[s]crap[ing] [of] profiles and information of others
11   through any means”; “[u]s[ing] manual or automated software … , devices, scripts, robots, other
12   means or processes to access, ‘scrape,’ ‘crawl,’ or ‘spider’ the Services”; and or any related data
13   or information”; or “[u]s[ing] bots or other automated methods to access the services.” Id. hiQ
14   has never denied that this is precisely what it did.
15          hiQ also breached the User Agreement’s prohibition on “creat[ing] a false identity on
16   LinkedIn.” Id. It directed agents to make fake accounts and then copy url data for its scraping
17   operations while acting in the course of hiQ’s business. CE 151-54 (describing the turking
18   process); CE 2058-59 (exemplar consulting agreement); CE 2063; see supra 7. hiQ’s use of the
19   data it collected to sell its Keeper and Skill Mapper products also violated promises that it would
20   not “use, disclose, or distribute any information …without the consent of LinkedIn”; “sell/re-sell
21   access to the Services or related data”; or “[s]hare or disclose information of others without their
22   express consent.” Lawit Decl. Ex. C (User Agreement § 8.2).
23          hiQ argues that the User Agreement does not apply to it when it is “not logged in to its
24   Company Page.” ECF No. 327 at 38 (Answer). Nothing in the User Agreement suggests such an
25   interpretation. By its terms, the User Agreement applies to all access or use of services, whether
26   that is done by a registered Member (which hiQ acknowledges it was) or by a Visitor (even
27   assuming hiQ was only “visiting” when it was logged out). Lawit Decl. Ex. C (User Agreement

28   § 1.2). hiQ’s corporate representative testified that hiQ nevertheless “believed the public

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 1   information was publicly available and okay to index.” CE 374 (Kaplan Dep.). Whatever hiQ
 2   “personally believed the agreement of the parties to be” is “immaterial” in the face of objectively
 3   unambiguous contract language. Brant v. Cal. Dairies, 4 Cal. 2d 128, 133 (1935). Nor would
 4   that belief in any way excuse hiQ’s undisputed breach of provisions prohibiting sharing member
 5   data without consent, use of data for commercial purposes, or creation of fake accounts.
 6          LinkedIn suffered damage as a result of hiQ’s actions. There is no material factual
 7   dispute that LinkedIn was harmed by hiQ’s breaches, in an amount to be proven at trial. LinkedIn
 8   expended resources investigating and remediating hiQ’s breaches. CE 1320 (ECF No. 29); CE
 9   459-60 (Malackowski Rpt.); Bajoria Decl. ¶ 4. See E. & J. Gallo Winery v. Instituut Voor
10   Landbouw-En Visserijonderzoek, No. 117CV00808DADEPG, 2018 WL 2463869, at *9 (E.D.
11   Cal. June 1, 2018) (“security and investigation costs” support contract damages). hiQ’s high-
12   volume scraping imposed a substantial burden on LinkedIn’s servers, increasing LinkedIn’s costs
13   of providing service. CE 1304-05 (Wu Dep.); CE 461-65 (Malackowski Rpt.). hiQ was unjustly
14   enriched by its unauthorized commercial use of valuable data about LinkedIn members. In re
15   Google Assistant Priv. Litig., 546 F. Supp. 3d 945, 967 (N.D. Cal. 2021) (“[U]nder California
16   law, a defendant’s unjust enrichment can satisfy the ‘damages’ element of a breach of contract
17   claim.”) (citation omitted). In any event, nominal damages are sufficient to sustain liability for a
18   breach of contract claims. Elation Sys., Inc. v. Fenn Bridge LLC, 71 Cal. App. 5th 958, 965-66
19   (2021); see Meta, 2022 WL 1990225, at *22-23.
20          B.      hiQ’s Affirmative Defenses Are Baseless.
21          hiQ’s Answer pleads a series of baseless affirmative defenses all fundamentally premised
22   on the notion that LinkedIn waived enforcement of its rights. ECF No. 327 at 44.
23          Statute of Limitations (Second Defense) and Laches (Seventeenth Defense). LinkedIn’s
24   contract claim is well within the four-year statute of limitations. See Cal. Civ. Code § 337(a).
25   hiQ breached the contract repeatedly in multiple ways beginning in 2014—less than four years
26   before hiQ filed this lawsuit on June 7, 2017, ECF No. 1—and continuously through the filing of
27   suit. See MH Pillars Ltd. v. Realini, No. 15-cv-13830-PJH, 2018 WL 1184847, at *3 (N.D. Cal.

28   Mar. 7, 2018) (collecting “weight of authority” establishing the compulsory counterclaims relate

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 1   back to filing of plaintiff’s complaint). This also dooms invocation of laches, which is not a valid
 2   defense to a breach-of-contract action brought within the limitations period. Abbott v. City of
 3   L.A., 50 Cal. 2d 438, 461-62 (1958).
 4          Waiver (Fifth Defense). hiQ’s waiver defense requires “clear and convincing evidence”
 5   of an “intentional relinquishment of a known right.” City of Ukiah v. Fones, 64 Cal. 2d 104, 107
 6   (1966); see Williams v. Apple, Inc., 338 F.R.D. 629, 646 (N.D. Cal. 2021). Both hiQ’s CEOs
 7   Kaplan and Weidick conceded that LinkedIn never provided express consent to hiQ’s conduct.
 8   CE 368-69 (Kaplan Dep.); CE 1160 (Weidick Dep.). In fact, hiQ knew it did not have
 9   permission. It was well aware that LinkedIn’s general technical defenses blocked scraping.
10   Supra 5-6. And when it could no longer circumvent them, it requested—anonymously, to avoid
11   revealing itself to LinkedIn—access to LinkedIn’s APIs, which LinkedIn denied. Supra 8. hiQ
12   can point to no act by LinkedIn which constitutes a waiver of its contractual rights.
13          Estoppel (Third Defense). Estoppel similarly demands a showing that the plaintiff
14   “intend[ed] that [its] conduct shall be acted upon, or … so act[ed] that the party asserting the
15   estoppel had a right to believe it was so intended.” Lentz v. McMahon, 49 Cal. 3d 393, 399
16   (1989). hiQ admits that it never asked permission to scrape. ECF No. 327 at 22. LinkedIn
17   undisputedly deployed its general defenses without exception for hiQ—which hiQ knew given its
18   repeated, ultimately unsuccessful attempts at circumvention. It also undisputedly never gave hiQ
19   permission to scrape, and (anonymously) refused hiQ access to its APIs. Against this backdrop, a
20   LinkedIn HR employee’s (Canlas) attendance at hiQ’s promotional conferences could not have
21   induced a reasonable belief by hiQ that it was entitled to operate a mass-scale scraping enterprise.
22   There is no evidence that hiQ asked Canlas for permission to scrape, nor that anyone could have
23   thought Canlas was authorized to grant such permission anyway. CE 325-26. At most hiQ can
24   point to “mere silence,” which “will not create an estoppel” absent “some obligation to speak.”
25   Transport Clearings-Bay Area v. Simmonds, 226 Cal. App. 2d 405, 427 (1964).
26          Unclean hands (Eleventh Defense), In Pari Delicto (Eighth Defense), Ratification
27   (Sixth Defense), and Consent (Ninth Defense). hiQ’s remaining defenses warrant only brief

28   mention. Unclean hands requires LinkedIn to have committed some “improper conduct” that

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 1   “directly affect[s]” hiQ’s obligations under the User Agreement and that “prejudicially affect[ed]”
 2   hiQ. Brown v. Grimes, 192 Cal. App. 4th 265, 282-84 (2011). As already explained, LinkedIn
 3   did nothing towards hiQ, other than ultimately enforce its bargained-for rights under the User
 4   Agreement. In pari delicto requires that both parties be “participant[s]” in the same “illegal,
 5   fraudulent, or inequitable conduct,” Casey v. U.S. Bank Nat’l Ass’n, 127 Cal. App. 4th 1138,
 6   1143 n.1 (2005)—this makes no sense because the parties were not joint participants in hiQ’s
 7   conduct. And to the extent hiQ is claiming “ratification” or “consent” as defenses to a breach of
 8   contract claim, they likewise fail because LinkedIn did nothing that would ever approach a
 9   knowing, intentional grant of permission to hiQ.
10   II.    HIQ’S TORT AND UCL CLAIMS ARE BARRED BY CAL. CIV. CODE § 47.

11          Turning to hiQ’s affirmative claims, each fails for the threshold reason that it is barred by

12   California’s litigation privilege, Cal. Civ. Code § 47(b). Recognized for “well over a century,”

13   § 47 renders litigation communications “absolutely immune from tort liability.” Rubin v. Green,

14   4 Cal. 4th 1187, 1193 (1993); see Silberg v. Anderson, 50 Cal. 3d 205, 215-16 (1990). The only

15   exception is a claim for malicious prosecution, which first requires that the action have been

16   terminated favorably to the complainant. Rubin, 4 Cal. 4th at 1194. The privilege extends not

17   only to communications made in the course of litigation, but also to communications made in

18   anticipation of potential litigation: “The classic example of an instance in which the privilege

19   would attach to prelitigation communications is the attorney demand letter threatening to file a

20   lawsuit if a claim is not settled.” Edwards v. Centex Real Est. Corp., 53 Cal. App. 4th 15, 35 n.10

21   (1997); see Rubin, 4 Cal. 4th at 1194 (“[N]umerous decisions have applied the privilege to

22   prelitigation communications.”).

23          hiQ attributes as the sole cause of its harm in this action the C&D letter sent by LinkedIn.

24   CEO Weidick, testifying as hiQ’s 30(b)(6) witness on alleged harm and damages, testified as

25   such during his deposition. CE 1207-09 (Weidick Dep.). hiQ’s damages expert also identifies

26   the C&D letter as the sole LinkedIn act causing hiQ damages. CE 998-1004 (Sacks Dep.). Nor

27   did LinkedIn even arguably go beyond the confines of sending a prelitigation communication, as

28   Weidick also conceded that LinkedIn did not publicize the letter to anyone other than hiQ (such

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 1   as hiQ customers), and that in fact it was hiQ who hired a publicist and publicized the letter itself.
 2   CE 1162-64 (Weidick Dep.).
 3          That letter confirms that it is precisely the type of prelitigation communication that
 4   Rubin’s “numerous decisions” have held protected. See Bajoria Decl. Ex. A at 2. On its face, the
 5   letter is an assertion of legal rights. Id. It was sent by a lawyer. Id. While preferring an
 6   amicable resolution, it expressly contemplates the potential of legal action. Id. And it followed a
 7   format for express revocation of authorization to access a protected computer that was industry-
 8   standard in the wake of Facebook, Inc. v. Power Ventures, Inc., 844 F.3d 1058 (9th Cir. 2016).
 9   Bajoria Decl. ¶ 5; Lawit Decl. ¶ 18. The letter plainly has “some relation” to a lawsuit—this
10   lawsuit, in which LinkedIn has asserted Counterclaims that largely track the letter. Rubin, 4 Cal.
11   4th at 1194. There is no authority for the proposition that hiQ’s filing of a preemptive lawsuit
12   deprived LinkedIn of the protection of § 47 for its prelitigation demand letter.
13          Nor do a few emails between non-lawyer LinkedIn employees expressing a desire to get
14   rid of hiQ as a competitor create an exception to the privilege. Even if those personnel had
15   authority to conduct legal enforcement—and they plainly did not—the “privilege is absolute in
16   nature,” and “appl[ies] to all publications, irrespective of their maliciousness.” Silberg, 50 Cal.
17   3d at 215-16. Indeed, Rubin expressly rejected an unfair competition claim where the gravamen
18   of the claimed harm was a privileged prelitigation communication. 4 Cal. 4th at 1200-03. Those
19   emails are irrelevant.
20          Even if non-Legal LinkedIn emails had some relevance, that still would not matter,
21   because the choice to send the letter was undisputedly a legal judgment made by lawyers.
22   LinkedIn was seeing more than 100 reports a year of potential abuse. Lawit Decl. ¶ 14. It did not
23   have the resources to investigate and pursue all of those potential claims. Id. LinkedIn candidly
24   acknowledges that it takes into account a desire to protect its business investments when
25   prioritizing its limited resources for enforcement actions. Lawit Decl. ¶ 10. But the lawyers and
26   only the lawyers—subject to all pertinent legal and ethical obligations—make a decision about
27   whether LinkedIn will assert its legal rights, as happened here. Bajoria Decl. ¶ 5; Lawit Decl.

28   ¶ 10. As LinkedIn firmly believed at the time, and as we now know, the allegations of the letter

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 1   were well-founded. hiQ was in fact a scraper violating unambiguous promises in a binding
 2   contract with LinkedIn. And LinkedIn’s assertions of rights under the CFAA and state law were
 3   and remain based on a reasonable—and LinkedIn believes correct—interpretation of precedent.
 4          At the motion to dismiss stage, this Court rejected LinkedIn’s affirmative defense under
 5   the Noerr-Pennington doctrine by differentiating between LinkedIn’s “cease-and-desist letters
 6   (petitioning activity)” and “the blocking of access to its website (nonpetitioning activity).” ECF
 7   No. 158 at 8. While LinkedIn continues to disagree with that ruling, it has no bearing here.
 8   Although “similar,” the California litigation privilege is “broader.” Vinson v. Cal. Dep’t of Corrs.
 9   & Rehab., No. 13-CV-00699-JST, 2014 WL 4594208, at *6 (N.D. Cal. Sept. 15, 2014). The
10   California Supreme Court has never adopted for § 47 the approach this Court used in evaluating
11   Noerr-Pennington, and indeed refused in Rubin to apply special rules for competition claims. See
12   4 Cal. 4th at 1193. Thus, while § 47 may not privilege wholly independent conduct (as opposed to
13   communications, or conduct related to a prelitigation assertion), that is no longer a relevant
14   consideration here because hiQ pegs the entirety of its harm to the C&D letter itself. There is no
15   evidence of “an independent, noncommunicative, wrongful act” causing hiQ any harm that would
16   bring its claims outside the ambit of § 47. Mireskandari v. Gallagher, 59 Cal. App. 5th 346, 369
17   (2020). Section 47 forecloses hiQ’s Fifth through Ninth Claims for Relief as a matter of law.
18   III.   HIQ’S INTERFERENCE TORT CLAIMS FAIL FOR OTHER REASONS.

19          Even if they were not barred by § 47, hiQ’s claims for tortious interference with economic

20   relations fail as a matter of law for several additional and independent reasons.

21          A.      hiQ Cannot Satisfy Essential Elements Of Its Tort Claims.

22                  1.      hiQ identifies no live contract with which LinkedIn interfered.

23          When the Ninth Circuit found serious questions going to the merits of hiQ’s intentional

24   interference with contract claims, it had in mind the sorts of “ripened,” live agreements entitled to

25   “solicitude” under the law. hiQ, 31 F.4th at 1191-92. To make out a claim for tortious

26   interference with contract, hiQ would have to show that LinkedIn’s conduct resulted in “actual

27   breach or disruption” of a “concrete[]” contract. Ixchel Pharma, LLC v. Biogen, Inc., 9 Cal. 5th

28   1130, 1141, 1147-48 (2020). The allegedly interfered-with contract must “cement … bargained-

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 1   for intentions … into the future,” and it cannot be “terminable at will.” Id. at 1146. In short, hiQ
 2   needs to point to an “existing enforceable contract” at the time of LinkedIn’s C&D letter that
 3   LinkedIn knew about and intentionally interfered with. Bed, Bath & Beyond of La Jolla, Inc. v.
 4   La Jolla Vill. Square Venture Partners, 52 Cal. App. 4th 867, 878 (1997).
 5          Discovery has revealed that hiQ has no contracts on which it can base such a claim. That
 6   is because every contract that was active at the time LinkedIn sent its C&D letter was fully paid
 7   and performed. hiQ’s CEO specifically confirmed this, and hiQ does not claim that it did not
 8   receive payment on any contract. CE 1197-98 (Weidick Dep.) (confirming hiQ continued to
 9   deliver against its contracts post-C&D and could not “recall a single [customer]” that terminated
10   its contract with hiQ). It therefore cannot satisfy the essential element of proving any existing
11   contract with which LinkedIn allegedly interfered by sending the C&D letter. Summary
12   judgment is therefore appropriate on any intentional interference with contract claim.
13                  2.      hiQ’s interference with prospective economic advantage claims fail on
                            numerous grounds.
14

15          Because hiQ can point to no live contract with which LinkedIn could have interfered, it is
16   left only with the theory that LinkedIn interfered with its ability to secure renewal of those
17   contracts that existed at the time LinkedIn sent its C&D letter—that is, it is left with an
18   interference with prospective economic advantage claim. All of hiQ’s agreements were entirely
19   at-will or renewable at-will, such that any customer could terminate the relationship at any time.6
20   hiQ thus had no concrete contractual right, as Ixchel defines it, to expect that customers whose
21   contracts had been paid and performed would renew. And it is undisputed that many customers
22   did not do so before LinkedIn ever sent its C&D letter—its “customer churn” and “exceptionally
23   low renewal rate” were major pre-existing problems for its business. CE 169-70 (internal hiQ
24   email); CE 1228 (May 15, 2017 presentation to hiQ Board).
25          At most, then, hiQ can claim only an “expectation”—not an “assurance”—of “future
26   6
       See CE 1867-1902 (           CE 1706-15 (                        ); CE1496 (      ); CE 1733-88
     (            ); CE 1835-65 (        ); CE 1794-1816 (          ); CE 1655-62 (           ); CE 1664-
27   82 (    ); CE 1684-1704 (        ); CE 1965-2009 (              ); CE 1587-92 (             ); CE
     1522 (           ); CE 1420-22 (      ); CE 1937-56 (         ); CE 2011-28 (               ); CE
28   1829-33 (     ); CE 1789-92 (        ); CE 2030-56 (           ); CE 1818-28 (       ).
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 1   contractual relations.’” Ixchel, 9 Cal. 5th at 1147 (citing Beckwith v. Dahl, 205 Cal. App. 4th
 2   1039, 1053 (2012)). It therefore may not rely on the rule that interference is “a wrong in and of
 3   itself.” Id. hiQ must instead establish that LinkedIn committed an independently wrongful act,
 4   and that it did so with knowledge of particular, existing hiQ relationships with a reasonable
 5   probability of resulting in future business. It cannot.
 6          LinkedIn committed no wrongful act. The requirement of an independently wrongful act
 7   is a stringent one. “An act is independently wrongful if it is unlawful, that is, if it is proscribed by
 8   some constitutional, statutory, regulatory, common law, or other determinable legal standard.”
 9   Ixchel, 9 Cal. 5th at 1143. hiQ’s only conceivable basis for demonstrating an independently
10   wrongful act is its UCL claims. But as discussed below (at 23-30), those claims fall flat. hiQ
11   gave up on any attempt to even plead a theory of anticompetitive conduct to make out a claim for
12   unfair competition under the UCL. Infra 24-29. Its claim for fraudulent competition fails
13   because LinkedIn made no false statement at all about scraping, let alone one hiQ relied upon,
14   since hiQ always knew its scraping was prohibited. Infra 29. And its claim for wrongful
15   competition cannot save it, because it too requires some independent legal wrong—an element
16   hiQ intended to borrow from the intentional interference claims we are discussing here. Infra 30.
17   And so not only do those claims fail in their own right, they also fail because they depend on
18   hiQ’s tort claims, too. hiQ is playing a shell game. To prove tortious conduct, it invokes the
19   UCL; to show unfair, fraudulent, or unlawful conduct under the UCL, it invokes alleged tortious
20   conduct. What it never does is establish that LinkedIn committed any actionable wrong.
21          No specific beneficial relationship of which LinkedIn had knowledge. hiQ also can
22   provide no evidence of any specific relationship, with a “reasonably probable” chance of yielding
23   “the expected benefit,” of which LinkedIn had knowledge at the time it sent its C&D letter. It is
24   well-settled that a plaintiff cannot base an intentional interference with prospective business
25   advantage claim on abstract interference with opportunity in “the market” generally. Westside
26   Ctr. Assocs. v. Safeway Stores 23, Inc., 42 Cal. App. 4th 507, 527 (1996). hiQ must come
27   forward with specific customers, establish each element for each customer, and show LinkedIn

28   “knew of the existence of the relationship.” Id. at 526. There is no evidence that LinkedIn knew

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 1   about any specific relationship at the time it sent the letter. At most, hiQ has only ever pointed to
 2   the generalized existence of customers, without specific evidence establishing the elements of an
 3   interference tort as to any one of them.
 4          hiQ cannot manufacture a claim by pointing to its notification in a May 31, 2017 letter of
 5   certain customers. CE 2078-81. The only conduct hiQ complains of took place when LinkedIn
 6   made the decision to send its C&D letter on May 23, 2017, prior to having knowledge of any of
 7   hiQ’s economic relationships. Bajoria Decl. Ex. A at 2. LinkedIn engaged in no new conduct
 8   after hiQ’s May 31 letter that could possibly constitute knowing interference with any
 9   relationship. The only thing LinkedIn did was send an additional C&D letter to hiQ, from
10   LinkedIn’s outside counsel and approved by LinkedIn’s General Counsel, reasserting rights with
11   the same effect as LinkedIn’s prior letter. Lawit Decl. ¶ 19, Ex. O. hiQ needs to make out the
12   elements of its tort claim with respect to customers at the time of the May 23, 2017 C&D letter,
13   and hiQ lacks the evidence to do so.
14                  3.      LinkedIn’s conduct caused neither breach nor any resulting harm.

15          Even if hiQ could point to specific relationships and establish knowing, wrongful conduct

16   with respect to them—it cannot—its tort claims still fail because hiQ cannot show that LinkedIn’s

17   C&D letter “proximately caused” it to breach any agreement or lose any business opportunity.

18   Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1153 (2003). The undisputed

19   facts establish that by the time hiQ received LinkedIn’s May 23, 2017 C&D letter, LinkedIn’s

20   general technical defenses had already thwarted hiQ’s scraping so dramatically that hiQ could not

21   offer its products anyway. Supra 7-9. Any lost opportunities hiQ suffered were proximately

22   caused by the factors that were driving it out of business. CE 212 (Hochberg Rpt.).

23          As LinkedIn’s spoliation motion explains, moreover, hiQ spoliated evidence of its

24   scraping logs and customer database information, which would have established that hiQ was

25   unable to circumvent LinkedIn’s general technical defenses before LinkedIn sent the C&D letter,

26   and that it lost customer relationships for reasons having nothing to do with the C&D letter.

27   Because hiQ spoliated evidence that would have confirmed these truths, it cannot now claim a

28   disputed issue of fact on this point. Summary judgment is therefore appropriate on the ground of

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 1   proximate causation as well.
 2           B.      LinkedIn’s Conduct Was Justified Because It Was Undertaken In Good Faith
                     To Enforce LinkedIn’s Legal Rights.
 3

 4           Independently, LinkedIn is entitled to summary judgment on any intentional interference
 5   claims because LinkedIn’s enforcement of its contractual rights was legally justified and therefore
 6   not tortious. “Justification” is an affirmative defense to a claim of intentional interference with
 7   contractual relations. SIC Metals, Inc. v. Hyundai Steel Co., 442 F. Supp. 3d 1251, 1256 (C.D.
 8   Cal. 2020), aff’d, 838 F. App’x 315 (9th Cir. 2021). That means, generally, “[i]f the [defendant]
 9   is not acting criminally nor with fraud or violence or other means wrongful in themselves but
10   [instead] is endeavoring to advance some interest of his own, the fact that he is aware that he will
11   cause interference with the plaintiff’s contract … [is] not improper.” Quelimane Co. v. Stewart
12   Title Guar. Co., 19 Cal. 4th 26, 56 (1998), as modified (Sept. 23, 1998) (quoting Restatement 2d
13   of Torts § 766)); see Meta, 2022 WL 1990225, at *36 (granting summary judgment for defendant
14   based on legitimate purpose justification).
15           LinkedIn’s conduct was justified as a matter of law because it sought to protect “a prior
16   contract of [its] own”—the User Agreement—by “demand[ing] compliance with the essential
17   terms.” Richardson v. La Rancherita, 98 Cal. App. 3d 73, 81 (1979). LinkedIn’s entitlement to
18   summary judgment on its breach of contract claim alone establishes its justification defense.
19   Simply put, LinkedIn asserted rights that have now been vindicated, foreclosing liability based on
20   that assertion of rights.
21           A party is justified in alleged interference with contractual relations “where (1) he has a
22   legally protected interest, (2) in good faith threatens to protect it, and (3) the threat is to protect it
23   by appropriate means.” Id. LinkedIn had a “legally protected interest” in enforcing its own User
24   Agreement. Supra 11-13. Add to that its legally protected rights in law, most notably the legal
25   framework in Facebook, 844 F.3d 1058. See Bajoria Decl. ¶ 5; Lawit Decl. ¶ 18. In asserting its
26   rights under that case, LinkedIn was following the Ninth Circuit’s prescribed guidance on the use
27   of a C&D letter to further revoke authorization to access its website. That conduct establishes

28   “good faith” in this context, which requires only that LinkedIn had “any reasonable basis, either

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 1   factually or legally … to believe” that its assertion of rights was justified. Richardson, 98 Cal.
 2   App. 3d at 81. LinkedIn’s belief in its assertion of its rights was not just reasonable, but correct.
 3   And LinkedIn’s C&D letter, a standard manner of asserting legal rights, constitutes an
 4   “appropriate means” of protecting its legal interests.
 5          These grounds alone are sufficient to establish a justification, but if more were needed,
 6   LinkedIn’s assertion of its rights was also justified as a business matter. As LinkedIn’s economic
 7   expert, Dr. Murphy, explained, LinkedIn’s anti-scraping policies based on its legal interests are
 8   also eminently justified as a business matter, because they “increase members’ trust” and
 9   “enhance the performance of the platform.” CE 825-37, 839-40 (Murphy Rpt.). hiQ’s own
10   expert, Minjae Song, agreed that “member trust is a business justification” for LinkedIn’s
11   policies. CE 1133 (Song Dep.). And Dr. Murphy further explained how hiQ’s scraping would
12   interfere with the interest underlying LinkedIn’s anti-scraping policies; LinkedIn’s assertion of
13   rights against hiQ was justified by a business rationale. CE 825-37 (Murphy Rpt.). hiQ’s
14   interference claim therefore fails as a matter of law.
15          C.      Summary Judgment Is Appropriate On hiQ’s Unrecognized “Lost Business
                    Value” Damages Theory.
16

17          Summary judgment should be granted on hiQ’s “lost business value” theory of damages
18   for reasons explained in LinkedIn’s Motion to Exclude Opinions of Benjamin Sacks, filed
19   herewith. As explained in that motion, “California [federal and state] courts have rejected the
20   proposition that a plaintiff may recover the value of the lost business.” E.g., Pac. Rollforming,
21   LLC v. Trakloc N. Am., LLC, No. 07-cv-1897-IEG (MDD), 2011 WL 13176817, at *3 (S.D. Cal.
22   Dec. 1, 2011) (footnote omitted); Electronic Funds Solutions LLC v. Murphy, 134 Cal. App. 4th
23   1161, 1180 (2005).
24          D.      hiQ Has No Evidence To Support Its Request For Punitive Damages.
25          Under California law, a plaintiff may obtain punitive damages only by proving “by clear
26   and convincing evidence that the defendant has been guilty of oppression, fraud, or malice.” Cal.
27   Civ. Code § 3294; see Tanvilai v. Am. Economy Ins. Co., No. SACV 07-1339-CJC(MLG), 2008

28   WL 11342952, at *4 (C.D. Cal. July 15, 2008). hiQ cannot establish anything like the

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 1   “aggravating circumstances,” id., or “despicable conduct” required to show oppression or malice,
 2   Cal. Civ. Code § 3294, and its attempt to plead fraud in the context of its UCL claim is wholly
 3   meritless, infra 29. Punitive damages are therefore unavailable in all events.
 4   IV.    HIQ’S UCL CLAIMS ALSO MUST BE DISMISSED.
 5          California Business & Professions Code § 17200, the UCL, defines unfair competition to
 6   include any “unlawful, unfair or fraudulent business act or practice.” Cel-Tech Commc’ns, Inc. v.
 7   L.A. Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999). hiQ purported to plead claims under all three
 8   prongs: the Seventh asserts the “unfair” prong, the Eighth asserts the “unlawful” prong, and the
 9   Ninth asserts the “fraudulent” prong. All of these claims fail because hiQ cannot establish
10   entitlement to any available equitable remedy, and for additional independent reasons as well.
11          A.      hiQ’s “Unfair,” “Unlawful,” And “Fraudulent” UCL Claims Must All Be
                    Dismissed Because It Has No Cognizable Remedy.
12

13          Summary judgment is appropriate against all of hiQ’s UCL claims because hiQ cannot
14   show entitlement to a remedy. The UCL affords only the equitable remedies of restitution or
15   injunctive relief. See Cal. Bus. & Prof. Code § 17203. hiQ did not plead for restitution (ECF No.
16   131 at 36), and hiQ’s damages expert concedes that the monetary remedies he calculated are not
17   restitutionary in nature. CE 1012-13 (Sacks Dep.). Thus, hiQ is limited to at most injunctive
18   relief. On the current record, injunctive relief is unavailable as a matter of law, foreclosing any
19   UCL claim. Huynh v. Quora, Inc., 508 F. Supp. 3d 633, 662-63 (N.D. Cal. 2020) (granting
20   summary judgment where plaintiff could not establish remedy and collecting cases).
21          In federal court, a permanent injunction can issue only if there is a “likelihood of
22   substantial and immediate irreparable injury.” American-Arab Anti-Discrimination Comm. v.
23   Reno, 70 F.3d 1045, 1066-67 (9th Cir. 1995); see Sonner v. Premier Nutrition Corp., 971 F.3d
24   834, 844 (9th Cir. 2020) (federal law controls availability of injunction under UCL). As this
25   Court found, however, “hiQ no longer offers the competing products that underpinned its UCL
26   claim; it does not have agreements with customers to breach; its employees are gone; its
27   operations are dormant for the indefinite future.” ECF No. 329 at 6. Any “harm” it claims “has
28   already occurred.” Id. Because it cannot create a fact issue on the existence of legally relevant

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 1   future harm, hiQ has no UCL remedy; because it has no UCL remedy, it has no UCL claim.
 2           B.      hiQ’s “Unfair” Prong UCL Claim Must Be Dismissed As A Matter Of Law.
 3                   1.      hiQ’s failure to amend its antitrust claims requires dismissal of its
                             Seventh Claim for Relief.
 4

 5           Conduct is unfair under the UCL only if it “threatens an incipient violation of an antitrust
 6   law, or violates the policy or spirit of one of those laws because its effects are comparable to or
 7   the same as a violation of the law, or otherwise significantly threatens or harms competition.”
 8   Cel-Tech, 20 Cal. 4th at 187. hiQ pled a “policy and spirit” unfairness claim incorporating its
 9   antitrust claims by reference. ECF No. 131 at 27-28. In seeking a preliminary injunction, hiQ
10   posited theories of “unfair leveraging” and denial of “essential facilities.” ECF No. 24 at 12. hiQ
11   subsequently filed an Amended Complaint, ECF No. 131, incorporating those and five other
12   antitrust theories by reference into its UCL claim. All told, it tried to plead monopolization and
13   attempted monopolization by conduct “including, but not limited to, leveraging, lock-in, raising
14   rivals’ costs, tying, unilateral refusal to deal, denial of essential facilities, and vertically-arranged
15   boycott.” ECF No. 131 ¶¶ 112, 150.
16           The Court dismissed every one of these claims on grounds of legal insufficiency and
17   implausibility. hiQ could not plausibly allege the existence of a “people analytics market,” which
18   also made it impossible to allege that LinkedIn has monopoly power or the power to harm
19   competition in any such market. ECF No. 158 at 9-12. The Court then systematically rejected
20   every theory of anticompetitive conduct, too, finding each “not viable as currently pled.” Id. at
21   13-20. The majority of these theories the Court found irredeemable; it gave hiQ the chance to
22   plead a plausible claim based only on “unilateral refusal to deal … and the essential facilities
23   doctrine.” Id. at 20. hiQ declined the opportunity, thereby doing nothing to support its derivative
24   unfairness claim based upon those theories and leaving no notion of a market or theory of
25   anticompetitive conduct in the case.
26           For two independent reasons, this Court’s dismissal of each of hiQ’s theories of
27   anticompetitive conduct requires summary judgment on hiQ’s unfair competition claim. First,

28   “[i]f the same conduct is alleged to be both an antitrust violation and an ‘unfair’ business act or

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 1   practice for the same reason—because it unreasonably restrains competition and harms
 2   consumers—the determination that the conduct is not an unreasonable restraint of trade
 3   necessarily implies that the conduct is not ‘unfair’ toward consumers.” Chavez v. Whirlpool
 4   Corp., 93 Cal. App. 4th 363, 375 (2001). An “independent claim under California’s UCL
 5   is … barred” because LinkedIn’s “activities are lawful under the antitrust laws.” City of San Jose
 6   v. Office of the Comm’r of Baseball, 776 F.3d 686, 692 (9th Cir. 2015).
 7          Second, even if it were possible to build a UCL “policy or spirit” claim on conduct that
 8   does not violate federal antitrust laws, hiQ has not pled any such theory—as a “matter of fact” its
 9   unfair competition claims are entirely derivative of failed antitrust theories. Aguilar v. Atlantic
10   Richfield Co., 25 Cal. 4th 826, 866-67 (2001) (dismissing UCL claim on this ground). hiQ has
11   not pled, for example, that LinkedIn has engaged in unfairness “tethered to some legislatively
12   declared policy” other than the antitrust laws. Cel-Tech, 20 Cal. 4th at 186-87; cf. Diva
13   Limousine, Ltd. v. Uber Techs., Inc., 392 F. Supp. 3d 1074, 1090-91 (N.D. Cal. 2019). If
14   anything, California state policy weighs in favor of protecting individuals’ information online.
15   See Cal. Consumer Privacy Act, Cal. Civ. Code § 1798.100. Nor has or could hiQ plead some
16   “adverse effect on competition,” Gregory v. Albertson’s, Inc., 104 Cal. App. 4th 845, 856 (2002),
17   since this Court has already found that hiQ failed to plead a plausible market in which some
18   adverse effect could be discerned. See Marsh v. Anesthesia Servs. Med. Grp., Inc., 200 Cal. App.
19   4th 480, 496 (2011) (explaining that without a market definition there are no “objective
20   benchmarks” for evaluating a claim of anticompetitive conduct). Moreover, hiQ has no claim
21   sounding in California’s Cartwright Act, under which “single firm monopolization is not
22   cognizable.” Asahi Kasei Pharma Corp. v. CoTherix, Inc., 204 Cal. App. 4th 1, 626 (2012).
23          As for the additional “detail[] herein” hiQ referenced in its Seventh Cause of Action, it is
24   hard even to parse, let alone to make out a full and coherent theory of unfair competition. Squint
25   and perhaps one might discern the outlines of hiQ’s original “leveraging” claim in the allegation
26   that “LinkedIn is using its dominant presence as the world’s largest professional social
27   networking platform to assume proprietary control over data that is owned not by LinkedIn, but

28   by its members,” thus harming “hiQ’s business model and prospects.” ECF No. 131 at 27-28.

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 1   But this Court has since recognized that “leveraging by itself is not inherently anticompetitive in
 2   nature,” dismissing hiQ’s leveraging theory as implausible. ECF No. 158 at 20; see Doe v.
 3   Abbott Lab’ys, 571 F.3d 930, 931 (9th Cir. 2009). So the few additional allegations under hiQ’s
 4   unfair competition claim that were not formally dismissed with hiQ’s Sherman Act claims have
 5   nevertheless been rejected as a basis for alleging anticompetitive conduct.
 6          In short, hiQ built its UCL unfair competition claim on theories of anticompetitive
 7   conduct that have collapsed. The Seventh Claim for Relief should be dismissed.
 8                  2.      Any “unfair” UCL claim based on monopolization fails as a matter of
                            law.
 9

10          Even assuming the Seventh Claim for Relief could be considered beyond the defective
11   pleading, it fails as a matter of law on the record made during discovery.
12          No market definition. Every theory of anticompetitive harm hiQ has ever posited in this
13   case is based on monopolization or attempted monopolization. Again, all of its claims under the
14   Sherman Act were dismissed and California’s Cartwright Act does not even bar single firm
15   monopolization. But even if hiQ had tried to plead a “policy and spirit” monopolization theory, it
16   ultimately would have to demonstrate that LinkedIn’s conduct had “effects [that] are comparable
17   to or the same as a violation of the law.” Cel-Tech, 20 Cal. 4th at 187. That is a problem for hiQ
18   because showing the existence and effects of monopoly power in a market requires defining that
19   market and demonstrating harms in it—something hiQ has never attempted to do. “Without a
20   definition of [a] market there is no way to measure [a defendant’s] ability to lessen or destroy
21   competition.” Walker Process Equip., Inc. v. Food Mach. & Chem. Corp., 382 U.S. 172, 177
22   (1965). Otherwise there are no “objective benchmarks for separating reasonable and
23   unreasonable restraints.” Marsh, 200 Cal. App. 4th at 496.
24          When LinkedIn posed an interrogatory concerning these requirements, hiQ deflected by
25   saying the topic was “more appropriate[]” for “expert discovery.” CE 2105-06 (Interrogatory
26   Response 25). But then its experts did not even try to define any market for a monopolization
27   theory or show harms in that market in any form. CE 1132 (Song Dep.) (conceding that he

28   conducted no market analysis and offered no opinion on whether Linkedin harmed any market);

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 1   CE 887-88 (Murphy Rebuttal Rpt.) (hiQ’s expert McElfresh “has not conducted an analysis of the
 2   relevant market, and he has not evaluated the competitive constraints on companies in the
 3   relevant market”). Having failed to allege a plausible market, hiQ did not even retain an expert
 4   economist who could posit one. Nor has it ever attempted to explain how LinkedIn could be
 5   found a monopolist in an undefined people analytics market, or to posit some objective measure
 6   of LinkedIn’s market power or its effect on competition.
 7          Duty to Deal. This Court was right to be “skeptical of the refusal-to-deal theory.” ECF
 8   No. 158 at 21. It is a non-starter. Even assuming hiQ was LinkedIn’s competitor, “there is no
 9   duty to aid competitors.” Metronet Servs. Corp. v. Qwest Corp., 383 F.3d 1124, 1131 (9th Cir.
10   2004). “[B]usinesses are free to choose the parties with whom they will deal, as well as the
11   prices, terms, and conditions of that dealing.” Pac. Bell Tel. Co. v. LinkLine Commc’ns, Inc., 555
12   U.S. 438, 448 (2009). The only “narrow exception” to that rule is from Aspen Skiing Co. v.
13   Aspen Highlands Skiing Corp., 472 U.S. 585 (1985), and it requires a plaintiff to show a
14   “unilateral termination of a voluntary and profitable course of dealing,” MetroNet, 383 F.3d at
15   1132, where “the only conceivable rationale or purpose” of termination is “to obtain higher
16   profits in the long run from the exclusion of competition.” Aerotec Int’l, Inc. v. Honeywell Int’l,
17   Inc., 836 F.3d 1171, 1184 (9th Cir. 2016). No facts support any of these elements.
18          hiQ and LinkedIn had no “voluntary” course of dealing whereby LinkedIn assented to
19   hiQ’s conduct. As both of hiQ’s CEOs conceded, there was never any such permission. CE 367-
20   68 (Kaplan Dep.) (hiQ’s former CEO conceding that hiQ did not tell LinkedIn or members that it
21   was scraping LinkedIn with third-party scrapers); CE 1160 (hiQ’s CEO conceding that he had no
22   communications with anyone at LinkedIn before the C&D letter). hiQ’s course of conduct was
23   unambiguously prohibited by LinkedIn’s User Agreement. Based on the limited information hiQ
24   provided in its anonymous request to access profile data under LinkedIn’s API program, LinkedIn
25   declined. Nor is there evidence that the parties’ “course of dealing”—if one could even label
26   hiQ’s ongoing breaches of the User Agreement with LinkedIn as such—was “profitable” to
27   LinkedIn such that foregoing it could only be chalked up to an anticompetitive purpose, Aerotec,

28   836 F.3d at 1184. See also supra 21-22 (detailing LinkedIn’s legitimate purposes).

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 1           Essential Facilities. An “essential facilities” theory is similarly doomed. The “‘essential
 2   facilities’ doctrine imposes on the owner of a facility that cannot reasonably be duplicated and
 3   which is essential to competition in a given market a duty to make that facility available to its
 4   competitors.” Metronet, 383 F.3d at 1128. The plaintiff must show that the defendant is “a
 5   monopolist in control of an essential facility.” Id. And “[b]ecause mandating access, as the
 6   essential facilities doctrine implies, shares the same concerns as mandating dealing with a
 7   competitor, a facility is essential ‘only if control of the facility carries with it the power to
 8   eliminate competition in the downstream market.” Aerotec, 836 F.3d at 1185 (citing Alaska
 9   Airlines, Inc. v. United Airlines, Inc., 948 F.2d 536, 544 (9th Cir. 1991)).
10           As this Court noted in dismissing this theory, ECF No. 158 at 16, it is impossible to
11   establish because hiQ has made no effort to define a market in which LinkedIn could ostensibly
12   possess the power to eliminate competition. Nor can hiQ establish that LinkedIn has the power to
13   “eliminate competition” in people analytics, Aerotec, 836 F.3d at 1185, however one defines that
14   market. Again, its experts did not even try to do so. Supra 26-27.
15           In any event, the record is clear that LinkedIn is not an essential facility. The standard for
16   establishing that status is exceedingly high. “Essential means essential; it does not mean ‘the
17   most economical.’” Jam Sports & Ent., LLC v. Paradama Prods., Inc., 336 F. Supp. 2d 824, 839
18   (N.D. Ill. 2004). Even “the most economical route is not an essential facility when other routes
19   are available.” Midwest Gas Servs., Inc. v. Indiana Gas Co., 317 F.3d 703, 714 (7th Cir. 2003).
20   Undisputed evidence establishes that there are many competitors who provide people analytics
21   products. CE 1911-17 (2017 internal market trend report); CE 268-69 (Hochberg Rpt.). And
22   these products do not depend on scraped data from LinkedIn as an essential input. CE 243
23   (Hochberg Rpt.) (“In reality, hiQ’s competitors relied on different avenues to collect the data
24   needed for their products to work, which possibly suggests that other startups did not perceive
25   hiQ’s business model of entirely relying on LinkedIn data as sustainable.”). It may be that for a
26   company like hiQ, scraping data from LinkedIn free of charge is the most economically
27   advantageous way of operating. But that is not enough.

28           “Monopoly Broth.” Finally, hiQ has occasionally made the sweeping argument that

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 1   LinkedIn has leveraged an “effective monopoly” on “real-time resumé data,” combined with a
 2   cumulation of actions—like “acquisitions” or decisions on API access—to “stifle competition.”
 3   CE 2101-02 (Interrogatory Response 22). This appears to be an attempt at a so-called “monopoly
 4   broth” theory, ECF No. 262 at 3, or perhaps hiQ’s leveraging theory all over again. To be clear,
 5   hiQ never even attempted to plead a “monopoly broth” theory in its complaint, and it certainly did
 6   not plead a theory of anticompetitive conduct based on conduct having nothing to do with hiQ at
 7   all. Having failed to point to any coherent theory of anticompetitive conduct, hiQ is hoping a
 8   word cloud will save its case. But the problem with this theory is the problem with all the rest: It
 9   defines no people analytics market, which means it cannot establish that LinkedIn is a monopolist
10   exercising monopoly power to unlawfully harm competition. At most it claims “injury to a
11   competitor,” which is not enough. Cel-Tech, 20 Cal. 4th at 186.
12          C.      hiQ’s “Fraudulent” Prong UCL Claim Fails As A Matter Of Law Because
                    hiQ Can Show Neither A Fraudulent Statement Nor Reliance.
13

14          hiQ’s fraudulent competition claim under the UCL also fails. hiQ bases this claim on
15   LinkedIn’s alleged fraudulent statements to members that, for example, members “control the
16   visibility and reach of [their] LinkedIn profile” or that “Members and/or Visitors may access and
17   share your content and information, consistent with your settings and degree of connection with
18   them.” ECF No. 131 at 29. This claim is nothing but a repackaged version of the promissory
19   estoppel claim this Court recognized as “meritless” at the preliminary injunction stage. ECF No.
20   63 at 23. Nothing about LinkedIn’s prohibitions on scraping is inconsistent with the statements
21   upon which hiQ purports to base its claim. Id. And hiQ can offer no proof that it or anyone else
22   relied on these statements to deem scraping permissible. Kwikset Corp. v. Super. Ct., 51 Cal. 4th
23   310, 326 (2011) (requiring reliance). Just the opposite: Undisputed evidence shows hiQ was
24   aware that scraping was prohibited by LinkedIn’s User Agreement, supra 5, aware that
25   LinkedIn’s general technical defenses were designed to thwart scraping, supra 5-6, and aware that
26   LinkedIn had rejected its anonymous request for permission to scrape, supra 8. So it could never
27   have thought the statements it now claims are fraudulent represented some blanket authorization

28   to scrape.

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 1          D.      hiQ’s “Unlawful” Prong UCL Claim Fails As A Matter Of Law.
 2          “Unlawful acts are anything that can properly be called a business practice and that at the

 3   same time is forbidden by law.” Sybersound Recs., Inc. v. UAV Corp., 517 F.3d 1137, 1151 (9th

 4   Cir. 2008). hiQ’s claims for unlawful competition are entirely derivative of its claims for

 5   “tortious interference with hiQ’s current and prospective contractual and business relationships.”

 6   ECF No. 131 at 28-29. Because those claims fail, so too does hiQ’s unlawful competition claim.

 7                                            CONCLUSION

 8          For the foregoing reasons, the Court should grant the motion for summary judgment.

 9

10   Dated: August 5, 2022                              Orrick, Herrington & Sutcliffe LLP

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12                                                      By:           /s/ Annette L. Hurst
                                                                       ANNETTE L. HURST
13
                                                                      Attorneys for Defendant
14                                                                     LinkedIn Corporation

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